         Case 3:16-cr-02790-W                Document 58           Filed 01/17/17           PageID.121          Page 1 of 2
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COUR

              UNITED STATES OF AMERlCA
                                   V.
         RONALDO JACQUEZ-CASTANEDA (3)
                                                                        Case Number:         16CR2790-W

                                                                     Richard Rodriguez
                                                                     Defendant's Attorney
REGISTRATION NO.                   58924298

THE DEFENDANT:
IZI   pleaded gUilty to count(s)         One of the Information
                                        -----------------------------------------------------------
o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                     Nature of Offense                                                                 Number(s)
8 USC 1324(a)(l )(A)(ii).           TRANSPORTATION OF CERTAIN ALIEN(S) FOR                                               1
(v)(II) and (a)(1 )(B)(i)           FINANCIAL GAIN AND AIDING AND ABETTING




    The defendant is sentenced as provided in pages 2 through                  2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

o Count(s)                                                    is           dismissed on the motion of the United States.

IZI   Assessment: $100.00-Waived



IZI No fine                   0 Forfeiture pursuant to order filed                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     January 17,2017
                                                                     Date of Imposition of Sen ence



                                                                     HON.THOMA
                                                                     UNITEDSTA



                                                                                                                       16CR2790-W
       Case 3:16-cr-02790-W           Document 58         Filed 01/17/17      PageID.122        Page 2 of 2

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                RONALDa JACQUEZ·CASTANEDA (3)                                           Judgment - Page 2 of2
CASE NUMBER:              16CR2790-W

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
       The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o     at                            A.M.              on
       o     as notified by the United States MarshaL
                                                                  ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to -------------------------------
 at                                      , with a certified copy of this judgment.
              -----------------


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         16CR2790-W
